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DR. SAMUEL P. MENEFEE
P.O. Box 5291, Charlottesville, VA 22905
Personal Email: spmenefee@msn.com

January 31, 2020

Clerk of Court Office, Eastern District of Louisiana

500 Poydras Street, C-151
New Orleans, LA 70130

Dear Madam/Sir:

I am a member of the Louisiana Bar (#01955) who is also admitted to the Eastern District of
Louisiana. I currently reside out of state and do not practice in Louisiana courts. After
consultation with your office I am writing to seek inactive status in the Eastern District. (It is
my understanding that, until my status is reactivated, I will owe no triennial court payment.)
Can you please confirm that this is the case and that my status has now been changed to

inactive?
Thanking you for your assistance in this matter, | remain

Sincerely,
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